Case 2:21-cv-00022-Z Document 458 Filed 06/16/23 Page1of1 PagelD 26164

 

U.S. DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT NORTHERN TED OF TEXAS

 

 

 

 

 

 

 

FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION JUN 1 6 2023
CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA, ef al., By A £
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Plaintiffs,
Vv. 2:21-CV-022-Z
PLANNED PARENTHOOD
FEDERATION OF AMERICA, et al.,

Defendants.

 

ORDER

On February 23, 2023, the Court entered an order granting Defendants’ Motion to Stay
(ECF No. 446). The Court stayed and administratively closed the case due to the Supreme Court’s
grant of certiorari for U.S. ex rel. Schutte v. SuperValu Inc., 9 F.4th 455, 468 (7th Cir. 2021).
That case, which turned on the federal False Claims Act’s scienter requirement, has now been
resolved. See U.S. ex rel. Schutte v. SuperValu Inc., 143 S. Ct. 1391 (2023), Accordingly, the Court
DIRECTS the Clerk of Court to lift the stay and reopen this case for further proceedings.

Additionally, pursuant to the Court’s internal procedures, administrative closure operates
to terminate all pending motions. On or before Wednesday, June 21, 2023, the Court ORDERS
the parties to file a joint list of then-pending motions, responses, replies, sur-replies, briefs in
support and/or appendices — identified by ECF number — that that the parties seek to reopen.
Any paper not so identified will remain terminated by operation of administrative closure.

SO ORDERED.
June 16, 2023 Ah ego

MATTHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

 

 

 
